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                                        tkasulis@maglaw.com
                                            (212) 880-9555


                                        August 19, 2020


By ECF

The Hon. Nicholas G. Garaufis
United States District Judge
United States Courthouse
225 Cadman Plaza East, Room 1426 S
Brooklyn, New York 11201

               Re:     United States v. Jason Kurland,
                       20 Cr. 306 (NGG)

Dear Judge Garaufis:

       We represent defendant Jason Kurland the above-captioned matter. We respectfully
request that this Court permit Mr. Kurland to travel to Somerset, New Jersey from August 21,
2020 through August 23, 2020 to bring his children to a previously-scheduled soccer tournament.

        Mr. Kurland was arrested yesterday and released on bond after arraignment before
Magistrate Judge Lois Bloom. Among other things, the conditions of Mr. Kurland’s pretrial
release restrict his travel to the Southern and Eastern Districts of New York. Mr. Kurland
requests permission to drive with his wife and three children to Somerset, New Jersey, on the
afternoon of August 21, and to stay until the afternoon of August 23. All three of his children
will participate in the soccer tournament over the weekend. Mr. Kurland and his family will stay
at a local hotel on the evenings of August 21 and August 22.

        Given that Mr. Kurland was arrested yesterday, Pretrial Services has indicated that they
defer to the Government’s view of this application. The Government has advised us that they
have no objection to this request.
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        Accordingly, we respectfully request that the Court approve Mr. Kurland’s travel to the
District of New Jersey from August 21 through August 23 for the reasons set forth above.

       We thank the Court for its consideration of this request.

                                                     Respectfully submitted,



                                                     /s/ Telemachus P. Kasulis
                                                     Telemachus P. Kasulis
                                                     A. Dennis Dillon

                                                     Counsel for Jason Kurland

cc:    Assistant United States Attorney Andrey Spektor (by ECF and email)
       Assistant United States Attorney Lindsay K. Gerdes (by ECF and email)
       Marnie Gerardino, U.S. Pretrial Services Office, Eastern District of New York (by email)
